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              IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF GEORGIA
                        ATLANTA DIVISION

MARCUS INGRAM,           )
                         )
      Plaintiff,         )
                         )
v.                       )                     CIVIL ACTION FILE
                         )                     NO.: 1:19-cv-05339-JPB
GARDEN FRESH RESTAURANTS )
(DE), LLC,               )
                         )
      Defendant.         )
                         )

                   JOINT STIPULATION OF DISMISSAL

      COMES NOW, GARDEN FRESH RESTAURANTS (DE), LLC (“Garden

Fresh” or “Defendant”), and MARCUS INGRAM (collectively “the Parties”),

through their undersigned counsel of record, and file this Joint Stipulation of

Dismissal pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure.

This matter has been settled and therefore all claims pending or threatened in this

matter are hereby dismissed WITH PREJUDICE.
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      Respectfully submitted this 10th day of March 2020.

/s/ Pete M. Monismith                      /s/ Myra K. Creighton
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         CERTIFICATE OF COMPIANCE WITH LOCAL RULE 5.1

      The undersigned hereby certifies that the foregoing document has been

prepared in accordance with the font type and margin requirements of Local Rule

5.1 of the Northern District of Georgia, using a font type of Times New Roman and

a point size of 14.

                                           /s/ Pete Monismith
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                                           pete@monismithlaw.com
